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U.S. Department of Justice

Joshua S. Levy
United States Attorney
District of Massachusetts

Main Reception: (617) 748-31 00 John Joseph Moakley United States Courthouse
I Courthouse Way
Suite 9200 .
Boston, Massachusetts 02210
December 6, 2024

Jobn F. Palmer

Law Office of John F. Palmer

18 Main Street Extension

Suite 201B

Plymouth, MA 02360

Re: United States v. Alan Robinson
Criminal No. 23-cr-10309-WGY

Dear Attorney Palmer:

The United States Attomey for the District of Massachusetts (the “U.S. Attorney”) and your
client, Alan Robinson (“Defendant”), agree as follows, pursuant to Federal Rule of Criminal
Procedure (“Rule”) 11(c)(1)(C):

1, Change of Plea

No later than January 17, 2025, Defendant will plead guilty to Counts One and Ten of the
Indictment: one count of Trafficking in Firearms, in violation of 18 U.S.C. § 933(a)(1); and one
count of Possession with Intent to Distribute Cocaine, in violation of 21 U.S.C. §§ 841(a)(1) and
(b)(1)(B)(ii). Defendant admits that Defendant committed the crimes specified in these counts and
is in fact guilty of each one.

The U.S. Attorney agrees to dismiss Count Twelve of the Indictment following sentencing
in accord with the terms of this agreement.

2. Penalties
Defendant faces the following maximum penalties:

" for Count One: incarceration for up to 15 years; supervised release for up to three
years; a fine of up to $250,000; and a mandatory special assessment of $100; and

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* for Count Ten: incarceration for up to forty years; a mandatory minimum sentence
of incarceration of five years; supervised release for not less than four years up to
life; a fine of up to 8 million dollars; and a mandatory special assessment of $100.

Defendant also faces restitution and forfeiture to the extent charged in the Indictment.

Defendant understands that, if Defendant is not a United States citizen by birth, pleading
guilty may affect Defendant’s immigration status, Defendant agrees to plead guilty regardless of
any potential immigration consequences, even if Defendant’s plea results in being automatically
removed from the United States.

3. Rule 11(c)(1)(C) Plea

In accordance with Rule 11(c)(1)(O), if the Court accepts this Plea Agreement, the Court
must include the agreed disposition in the judgment. If the Court rejects any part of this Plea
Agreement, the U.S. Attomey may void the agreement and/or Defendant may withdraw from it.
Defendant may not withdraw Defendant’s plea for any other reason.

Should the U.S. Attomey void the agreement and/or Defendant move to withdraw
Defendant’s guilty plea, Defendant agrees to waive any defenses based upon statute of limitations,
the constitutional protection against pre-indictment delay, and the Speedy Trial Act for all charges
that could have been brought as of the date of this Plea Agreement.

4, Sentencing Guidelines

The parties agree, based on the following calculations, that Defendant’s total “offense
level” under the Guidelines for Counts One and Ten is 27:

Count One and Ten (Group One)

a) Defendant’s base offense level is 18 (USSG § 2K2.1(a)(5));

b) Defendant’s offense level is increased by 2, because the offense involved three
to seven firearms (USSG § 2K2.1(b)(1)(A));

c) Defendant’s offense level is increased by 4, because the defendant knew that a
firearm involved in the offense was not marked with a serial number (USSG §

2K2.1(b)(4)(B)GD);

d) Defendant’s offense level is increased by 2, because the offense involves the
trafficking in firearms (USSG § 2K2.1(b)(5)(B)); and

e) Defendant’s offense level is increased by 4, because the offense involved the

use, possession, or transfer of a firearm with knowledge, intent, or reason to
believe that the firearm would be used in connection with another felony (USSG

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§ 2K2.1(b)(6)(B)).

Grouping

The parties agree that the offenses group under USSG § 3D1.2(c), and as a result the
offense level applicable to the group is the offense level for the most serious of the counts
comprising the group, i.e. the highest offense level of the counts in the group. ‘

Acceptance of Responsibility

Defendant’s offense level is decreased by 3, because Defendant has accepted responsibility
for Defendant’s crimes (USSG § 3E1.1).

Defendant understands that the Court is not required to follow this calculation. Defendant
also understands that the government will object to any reduction in Defendant’s sentence based
on acceptance of responsibility, and may be released from the parties’ agreed-upon disposition in
Paragraph 5 if: (a) at sentencing, Defendant (directly or through counsel) indicates that Defendant
does not fully accept responsibility for having engaged in the conduct underlying each of the
elements of the crimes to which Defendant is pleading guilty; or (b) by the time of sentencing,
Defendant has committed a new federal or state offense, or has in any way obstructed justice.

Nothing in this Plea Agreement affects the U.S. Attomey’s obligation to provide the Court
and the U.S. Probation Office with accurate and complete information regarding this case.

5. Agreed Disposition
The parties agree on the following sentence:
a) Aterm of incarceration for 120 months on each count to be served concurrently;
b) 60 months of supervised release;
c) a fine within the Guidelines sentencing range as calculated by the Court at
sentencing, excluding departures, unless the Court finds that Defendant is not

able, and is not likely to become able, to pay a fine;

d) amandatory special assessment of $200, which Defendant must pay to the Clerk
of the Court by the date of sentencing;

€) restitution in an amount to be determined at sentencing; and
f) forfeiture as set forth in Paragraph 7.
Defendant agrees that all criminal monetary penalties, including special assessment,
restitution, forfeiture, and/or fine imposed shall be due and payable immediately, and further

agrees that any Court-ordered repayment schedule does not preclude further enforcement or
collection by the United States.
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6. Waiver of Appellate Rights and Challenges to Conviction or Sentence

Defendant has the right to challenge Defendant’s conviction and sentence on “direct
appeal.” This means that Defendant has the right to ask a higher court (the “appeals court”) to look
at what happened in this case and, if the appeals court finds that the trial court or the parties made
certain mistakes, overturn Defendant’s conviction or sentence. Also, in some instances, Defendant
has the right to file a separate civil lawsuit claiming that serious mistakes were made in this case
and that Defendant’s conviction or sentence should be overturned.

Defendant understands that Defendant has these rights, but now agrees to give them up.
Specifically, Defendant agrees that:

a) Defendant will not challenge Defendant’s conviction on direct appeal or in any
other proceeding, including in a separate civil lawsuit; and

b) Defendant will not challenge Defendant’s sentence, including any court orders
related to forfeiture, restitution, fines or supervised release, on direct appeal or
in any other proceeding, including in a separate civil lawsuit.

The U.S. Attorney agrees not to appeal the imposition of the sentence agreed to by the
parties in paragraph 5.

Defendant understands that, by agreeing to the above, Defendant is agreeing that
Defendant’s conviction and sentence will be final when the Court issues a written judgment after

the sentencing hearing in this case. That is, after the Court issues a written judgment, Defendant
will lose the right to appeal or otherwise challenge Defendant’s conviction and sentence regardless

of whether Defendant later changes Defendant’s mind or finds new information that would have
led Defendant not to agree to give up these rights in the first place.

Defendant is agreeing to give up these rights in exchange for concessions the U.S. Attorney
is making in this Agreement.

The parties agree that, despite giving up these rights, Defendant keeps the right to later
claim that Defendant’s lawyer rendered ineffective assistance of counsel, or that the prosecutor or
a member of law enforcement involved in the case engaged in misconduct serious enough to entitle
Defendant to have Defendant’s conviction or sentence overturned.

7. Forfeiture

Defendant understands that the Court will, upon acceptance of Defendant’s guilty plea,
enter an order of forfeiture as part of Defendant’s sentence, and that the order of forfeiture may
include assets directly traceable to Defendant’s offense, assets used to facilitate Defendant’s
offense, substitute assets and/or a money judgment equal to the value of the property derived from,
or otherwise involved in, the offense.

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The assets to be forfeited specifically include, without limitation, the following:

a. $21,398 in United States currency seized from Alan Robinson on November 3,
2023;

b. 24 rounds of .40 caliber ammunition; and

c. 33 rounds of ammunition of an unknown caliber

Defendant admits that these assets are subject to forfeiture on the grounds that they
constitute, or are derived from, proceeds of Defendant’s offense. Defendant agrees to consent to
the entry of orders of forfeiture for such property and waives the requirements of Federal Rules of
Criminal Procedure 11(b)(1)(J), 32.2, and 43(a) regarding notice of the forfeiture in the charging
instrument, advice regarding the forfeiture at the change-of-plea hearing, announcement of the
forfeiture at sentencing, and incorporation of the forfeiture in the judgment. Defendant
understands and agrees that forfeiture shall not satisfy or affect any fine, lien, penalty, restitution,
cost of imprisonment, tax liability or any other debt owed to the United States.

Defendant agrees to assist fully in the forfeiture of the foregoing assets. Defendant agrees
to promptly take all steps necessary to pass clear title to the forfeited assets to the United States,
including but not limited to executing any and all documents necessary to transfer such title,
assisting in bringing any assets located outside of the United States within the jurisdiction of the
United States, and taking whatever steps are necessary to ensure that assets subject to forfeiture
are not sold, disbursed, wasted, hidden or otherwise made unavailable for forfeiture. Defendant
further agrees (a) not to assist any third party in asserting a claim to the forfeited assets in an
ancillary proceeding, and (b) to testify truthfully in any such proceeding.

If the U.S. Attorney requests, Defendant shall deliver to the U.S. Attorney within 30 days
after signing this Plea Agreement a sworn financial statement disclosing all assets in which
Defendant currently has any interest and all assets over which Defendant has exercised control, or
has had any legal or beneficial interest. Defendant further agrees to be deposed with respect to
Defendant’s assets at the request of the U.S. Attorney. Defendant agrees that the United States
Department of Probation may share any financial information about the Defendant with the United
States Attorney’s Office.

Defendant also agrees to waive all constitutional, legal, and equitable challenges (including
direct appeal, habeas corpus, or any other means) to any forfeiture carried out in accordance with
this Plea Agreement.

Defendant hereby waives and releases any claims Defendant may have to any vehicles,
currency, or other personal property seized by the United States, or seized by any state or local law
enforcement agency and turned over to the United States, during the investigation and prosecution
of this case, and consents to the forfeiture of all such assets.

8. Civil Liability
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This Plea Agreement does not affect any civil liability, including any tax liability,
Defendant has incurred or may later incur due to Defendant’s criminal conduct and guilty plea to
the charges specified in Paragraph 1 of this Agreement.

9. Breach of Plea Agreement

Defendant understands that if Defendant breaches any provision of this Agreement,
violates any condition of Defendant’s pre-trial release or commits any crime following
Defendant’s execution of this Plea Agreement, Defendant cannot rely upon such conduct to
withdraw Defendant’s guilty plea. Defendant’s conduct, however, would give the U.S. Attomey
the right to be released from the U.S, Attorney’s commitments under this Agreement, to pursue
any charges that were, or are to be, dismissed under this Agreement, and to use against Defendant
any of Defendant’s statements, and any information or materials Defendant provided to the
government during investigation or prosecution of Defendant’s case—even if the parties had
entered any earlier written or oral agreements or understandings about this issue.

Defendant also understands that if Defendant breaches any provision of this Agreement or
engages in any of the aforementioned conduct, Defendant thereby waives any defenses based on
the statute of limitations, constitutional protections against pre-indictment delay, and the Speedy
Trial Act, that Defendant otherwise may have had to any charges based on conduct occurring
before the date of this Agreement.

10. Who is Bound by Plea Agreement

This Agreement is only between Defendant and the U.S. Attorney for the District of
Massachusetts. It does not bind the Attorney General of the United States or any other federal,
state, or local prosecuting authorities.

11. Modifications to Plea Agreement

This Agreement can be modified or supplemented only in a written memorandum signed
by both parties, or through proceedings in open court.

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If this letter accurately reflects the agreement between the U.S. Attorney and Defendant,
please have Defendant sign the Acknowledgment of Plea Agreement below. Please also sign
below as Witness. Return the original of this letter to Assistant U_S. Attomey Luke A. Goldworm.

Sincerely,

JOSHUA S. LEVY
United States Attorney

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ANNE PARUTI

Chief, Major Crimes Unit
MARK GRADY

Deputy-Chief, Major Crimes Unit

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LUKE A. GOLDWORM
Assistant U.S. Attorneys
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ACKNOWLEDGMENT OF PLEA AGREEMENT

Ihave read this letter and discussed it with my attorney. The letter accurately presents my
agreement with the United States Attorney’s Office for the District of Massachusetts. There are no
unwritten agreements between me and the United States Attorney’s Office, and no United States
government official has made any unwritten promises or representations to me in connection with
my guilty plea. I have received no prior offers to resolve this case.

I understand the crimes I am pleading guilty to, and the maximum penalties for those
crimes. I have discussed the Sentencing Guidelines with my lawyer, and I understand the
sentencing ranges that may apply.

I am satisfied with the legal representation my lawyer has given me, and we have had
enough time to meet and discuss my case. We have discussed the charges against me, possible
defenses I might have, the terms of this Agreement and whether I should go to trial.

Tam entering into this Agreement freely and voluntarily and because I am in fact guilty of
the offenses. I believe this Agreement is in my best interest.

Alan Robinson
Defendant

Date: Ofce mar /3, Zo2y

I certify that Alan Robinson has read this Agreement and that we have discussed what it
means. I believe Alan Robinson understands the Agreement and is entering into it freely,
voluntarily, and knowingly. I also certify that the U.S. Attorney has not extended any other offers
regarding a change of plea in this case.

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John#. Palmer, Esq.
Attorney for Defendant

Date: RecanrSs - Lg Zoly

